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The following constitutes the ruling of the court and has the force and effect therein described.



 Signed January 15, 2020
______________________________________________________________________




                              IN THE UNITED STATES BANKRUPTCY COURT
                                    NORTHERN DISTRICT OF TEXAS
                                          DALLAS DIVISION

                                                                )
                                                                )
                 In re:                                         )            Chapter 11
                                                                )
                 HIGHLAND CAPITAL                               )
                 MANAGEMENT, L.P., 1                            )            Case No. 19-34054 (SGJ)
                                                                )
                              Debtor.                           )
                                                                )            Rel. to Dkt. 218, 304

            AGREED ORDER CONTINUING THE HEARING ON PENSIONDANMARK’S
                   MOTION FOR RELIEF FROM THE AUTOMATIC STAY

               On         December      9,    2019,       PensionDanmark            Pensionsforsikringsaktieselskab

     (“PensionDanmark”) filed the Motion of Pensiondanmark Pensionsforsikringsaktieselskab for an

     Order Granting Relief from the Automatic Stay to Terminate Investment Management Agreement

     [Docket No. 218] (the “Stay Relief Motion”) in connection with the above reference case. The


     1
       The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
     for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.


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Stay Relief Motion was set for January 21, 2020 at 9:30 a.m. before the Honorable Stacey G. C.

Jernigan at the United States Bankruptcy Court for the Northern District of Texas (Dallas Division)

(the “Court”) [Docket No. 304].

          Counsel for PensionDanmark, the above-referenced Debtor and the Official Committee of

Unsecured Creditors (collectively, the “Parties”) have agreed to continue the hearing on the Stay

Relief Motion to a later date to facilitate a resolution of the relief requested therein.

          Accordingly, it is hereby ORDERED that a hearing on the Stay Relief Motion shall be

continued to a later date provided by the Court and mutually acceptable to the Parties.

                                        ### End of Order ###




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Dated: January 15, 2020


Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

          I hereby certify that a true and correct copy of the above and foregoing document was sent

via electronic mail via the Court’s ECF system to all parties authorized to receive electronic notice

in this case on January 15, 2020.


                                                       /s/ Juliana L. Hoffman
                                                       Juliana L. Hoffman
                                                       Counsel for the Official Committee
                                                       of Unsecured Creditors




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